          Case 2:06-cr-00041-RSL       Document 395      Filed 01/05/07     Page 1 of 1



 1
 2
 3
 4
 5
 6
 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                Plaintiff,                             Case No. CR06-041L
11         v.                                            ORDER DENYING MOTION TO FILE
12                                                       UNDER SEAL
     PAUL FOSTER,
13                Defendants.
14
15         This matter comes before the Court on the Government’s “Motion to File Under Seal

16 Government’s Motion For Reconsideration of Court’s Order to Sever Defendant Foster.” (Dkt.
17 #368). The Government does not believe the motion for reconsideration (Dkt. #369) needs to
18 be sealed, but has sought to file it under seal in an abundance of caution. The Court agrees
19 with the Government that there is no longer a need for the motion for reconsideration (Dkt.
20 #369) to be sealed. The Government’s motion is therefore DENIED.
21
22         DATED this 5th day of January, 2007.

23
24
25
                                             A
                                             Robert S. Lasnik
                                             United States District Judge
26

     ORDER DENYING MOTION TO FILE
     UNDER SEAL
